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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA, and        )
   THE OSAGE MINERALS COUNCIL,          )
                                        )
                Plaintiffs,             )
                                        )
   vs.                                  )     Case No. 14-CV-704-GKF-JFJ
                                        )
   OSAGE WIND, LLC;                     )
   ENEL KANSAS, LLC; and                )
   ENEL GREEN POWER NORTH               )
   AMERICA, INC.,                       )
                                        )
                Defendants.             )


                  REPLY IN FURTHER SUPPORT OF DEFENDANTS’
         MOTION TO COMPEL PLAINTIFFS TO DESIGNATE PERSONS TO TESTIFY
                     PURSUANT TO RULE 30(B)(6) [Dkt. # 266]


    Ryan A. Ray, OBA #22281                 Lynn H. Slade, pro hac vice
    NORMAN WOHLGEMUTH, LLP                  Sarah M. Stevenson, pro hac vice
    3200 Mid-Continent Tower                Dominic A. Martinez, pro hac vice
    401 South Boston Avenue                 MODRALL, SPERLING, ROEHL,
    Tulsa, OK 74103                         HARRIS & SISK, P.A.
    918-583-7571                            Post Office Box 2168
    918-584-7846 (facsimile)                Albuquerque, NM 87103-2168
                                            505-848-1800
                                            505-848-9710 (facsimile)
    Thomas J. McCormack, pro hac vice       Of Counsel:
    Robert Kirby, pro hac vice              Robin D. Ball (Los Angeles Office), pro hac
    NORTON ROSE FULBRIGHT US LLP            vice
    1301 Avenue of the Americas             Robert D. Comer (Denver Office), pro hac
    New York, NY 10019                      vice
    212-318-3000                            NORTON ROSE FULBRIGHT US LLP
    212-318-3400 (facsimile)

                                        ATTORNEYS FOR DEFENDANTS, OSAGE
                                        WIND, LLC, ENEL KANSAS, LLC AND ENEL
                                        GREEN POWER NORTH AMERICA, INC.
   Dated: October 4, 2021
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          Osage Wind, LLC, Enel Kansas, LLC, and Enel Green Power North America, Inc.

   (collectively, “Defendants”) submit this reply in further support of their Motion to Compel the

   United States of America (“United States”) and the Osage Mineral Council (“OMC”) (collectively,

   “Plaintiffs”) to Designate Persons to Testify Pursuant to Rule 30(b)(6) (Dkt. # 266) (the “Motion”).

                                              INTRODUCTION

          The responses to the Motion filed by the United States (Dkt. # 277) (the “U.S. Response”)

   and the OMC (Dkt. # 278) (the “OMC Response” and, together with the U.S. Response, the

   “Responses”) fail to justify Plaintiffs’ near total refusal to designate witnesses under Rule 30(b)(6).

   Plaintiffs seek to foreclose Defendants from taking practically any discovery authorized by

   Rule 30(b)(6), despite Plaintiffs’ failure to comply with the requirement that they affirmatively

   raise their objections in a motion for a protective order. The single district court decision on which

   Plaintiffs rely to excuse this failure is unpersuasive and against the weight of authority. The Court

   need proceed no further before granting this Motion. Plaintiffs’ objections fare no better on the

   merits. Contrary to Plaintiffs’ assertions that the topics at issue are irrelevant, they seek important

   discovery relevant to any permanent injunction analysis under Davilla v. Enable Midstream

   Partners, L.P., 913 F.3d 959 (10th Cir. 2019), and to the measure of damages for Plaintiffs’

   trespass claim.

                                       ARGUMENT AND AUTHORITIES

   I.     PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ 30(B)(6) NOTICES WERE PROCEDURALLY
          IMPROPER IN THE ABSENCE OF A MOTION FOR A PROTECTIVE ORDER

          The United States refused to prepare a 30(b)(6) witness for all but part of one of the topics

   identified by Plaintiffs. The OMC simply refused to produce a witness at all. Neither Plaintiff

   moved for a protective order, forcing Defendants to make a motion to compel. By failing to move

   for a protective order, Plaintiffs remain obligated “to make a conscientious, good-faith effort to
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   designate knowledgeable persons for Rule 30(b)(6) depositions.” Starlight Int’l Inc. v. Herlihy,

   186 F.R.D. 626, 639 (D. Kan. 1999).

          The OMC suggests that not only were Plaintiffs not required to seek a protective order, but

   that Defendants were somehow required to bring a motion to compel. OMC Resp. at 23. This

   overlooks that “[i]f a party receiving [a Rule 30(b)(6) deposition] notice believes that the notice is

   improper for some reason, that party does not have the right to refuse to obey the deposition notice

   on any ground.” Int’l Bhd. of Teamsters, Airline Div. v. Frontier Airlines, Inc., No. 11-CV-02007-

   MSK-KLM, 2013 WL 627149, at *6 (D. Colo. Feb. 19, 2013), order amended on reconsideration,

   No. 11-CV-02007-MSK-KLM, 2013 WL 12246941 (D. Colo. Sept. 12, 2013); see also Robinson

   v. Quicken Loans, Inc., No. 3:12-cv-00981, 2013 WL 1776100, at *3 (S.D. W.Va. Apr. 25, 2013)

   (“[T]he corporation bears the burden of demonstrating to the court that the notice is objectionable

   or insufficient.”). The OMC solely relies on Sprint Communications Co., L.P. v. Vonage Holdings

   Corp., No. 05-2433-JWL-DJW, 2007 WL 2333356, at *2 (D. Kan. Aug. 15, 2007). That case is

   an outlier and against the weight of authority in this Circuit. The more recent decision in the same

   district in Espy v. Mformation Techs., Inc., reached the opposite conclusion, citing numerous

   decisions agreeing that it is the duty of the objecting party to move for a protective order or waive

   such objections. No. 08-2211-EFM-DWB, 2010 WL 1488555, at *3 (D. Kan. Apr. 13, 2010)

   (collecting cases).

          The United States asserts that it should be excused from this duty, because it produced a

   witness regarding part of Topic 4. U.S. Resp. at 6-7. The United States misses the point. At the

   August 13 meet and confer, the United States flatly refused to do anything beyond producing a

   witness for (less than) one topic. This does nothing to excuse the United States from complying

   with the requirements of Rule 30(b)(6) as to all other topics. See Int’l Bhd. of Teamsters, 2013




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   WL 627149 at *7 (“Merely forewarning opposing counsel that the information sought is not

   relevant or could be privileged” is “equally applicable” to failing to produce a witness at all). To

   the contrary, “[t]he proper method for bringing to the Court’s attention any deficiencies in the

   identification of topics is to file a motion for a protective order.” Espy, 2010 WL 1488555, at *3.

          Defendants were not, as the United States asserts, required to object on the record during

   the deposition (though they did so), or furnish the transcript of that deposition to the Court, as a

   prerequisite to bringing this Motion. U.S. Resp. at 2-3. The subject of this motion is the United

   States’ objection to designating any witness for Topic Nos. 1, 6 and 7 and its failure to move for a

   protective order; not the (improper) instructions not to answer that counsel for the United States

   made during the deposition of the witness produced regarding part of Topic 4.1 Courts have

   ordered depositions reopened when deponents are not properly prepared on all of the requested

   topics. See Espy, 2010 WL 1488555, at *4 (reopening 30(b)(6) deposition where deponent was

   not “adequately prepared to testify” on topics the objecting party wrongly felt were not “identified

   with ‘painstaking specificity’”); Arkema Inc. v. Asarco, Inc., No. C05-5087 RBL, 2007 WL

   641847, at *1-*2 (W.D. Wash. Feb. 23, 2007) (ordering additional 30(b)(6) deposition testimony

   after previous 30(b)(6) deposition did not cover disputed topic).

   II.    DEFENDANTS’ 30(B)(6) NOTICES WERE PARTICULARIZED

          Plaintiffs still are unable to provide any authority suggesting that a Rule 30(b)(6) notice

   lacks reasonable particularity because it seeks to depose two plaintiffs concerning matters that are



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     Defendants were not, as the United States suggests, “content” with Mr. Streater’s deposition
   regarding part of Topic No. 4, U.S. Resp. at 7, and expressly reserved their rights regarding other
   noticed topics at the August 26 deposition. Dep. of Eddie Streater, attached as Ex. A, at 55:13-
   56:19 (“We view the deposition as still open because of those other issues and because it was not
   adequately prepared . . . .”). And contrary to the United States’ insinuations, U.S. Resp. at 7, the
   fact that Defendants brought the Motion for only three topics does not signify anything other than
   the fact Defendants are seeking to limit the scope of the Motion to the extent possible.

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   relevant to the claims of both. Defendants are aware of none. See Doe v. Trump, 329 F.R.D. 262,

   269-70 (W.D. Wash. 2018) (permitting “identical” 30(b)(6) notices on two distinct federal

   agencies).

          Plaintiffs’ other objections regarding the use of the phrase “including without limitation”

   in certain topics and lack of temporal restrictions also remain unpersuasive. OMC Resp. at 21;

   U.S. Resp. at 5. The Notice satisfied the reasonable particularity standard insofar as it states in

   plain language “the subject matter of the testimony sought.” Heartland Surgical Specialty Hosp.,

   LLC v. Midwest Div., Inc., No. 05-2164-MLB-DWB, 2007 WL 1054279, at *3 (D. Kan. Apr. 9,

   2007). Further, such objections are not appropriate grounds for a blanket refusal to produce a

   witness for the noticed topics. See Bristow First Assembly of God v. BP p.l.c., No. 15-CV-523-

   TCK-FHM, 2019 WL 5783729, at *5 (N.D. Okla. Nov. 6, 2019) (allowing Rule 30(b)(6)

   deposition and only granting Protective Order as to the phrase “including but not limited to”).

   Finally, Defendants had already resolved Plaintiffs’ objections to the time period of certain topics

   during the meet and confer process. The United States essentially concedes as much, and this

   objection is no excuse to refuse to produce a witness on the topics at issue. See U.S. Resp. at 5

   (“Defendants agreed in the meet and confer that some temporal limit would be appropriate”).

   III.   THE TOPICS ARE RELEVANT AND NOT PRECLUDED BY THE COURT’S ORDERS

          Both the United States and the OMC yet again argue that the Court’s prior orders preclude

   relevant discovery. This is wrong. The Court’s previous decisions regarding discovery were

   limited to the specific discovery requests then at issue. Those decisions expressly did not consider

   the potential relevance of such discovery to the calculation of trespass damages and Defendants’

   good faith, as those issues were not before the Court at that time. See Dkt. # 264 at 24-25 (declining

   to decide whether the at-issue discovery was relevant “beyond the equitable remedies of injunction

   and ejectment,” because those issues had not been raised); Dkt. # 226 at n. 9 (stating the Court did


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   “not consider the potential relevance of the requested discovery to Osage Wind’s good faith in

   proceeding without a lease”). Further, the Court explained that in any permanent injunction

   analysis under Davilla, the Court would be required to consider factors including the relative costs

   and benefits of [defendant] removing the pipeline, either as they pertain to these parties or the

   public at large,” and whether there would be “irreparable harm” absent such an injunction. Dkt. #

   226 at 8 (quoting Davilla, 913 F.3d at 974). Topics 1, 6, and 7 are relevant to those subject matters

   including Defendants’ good faith, the quantum of harm, the existence of “irreparable harm,” and

   the costs and benefits of any injunction to the parties.

          A.      Topic 1 (Publicly Available Information Regarding 25 C.F.R. Part 214 Leases)

          Topic 1 seeks testimony concerning “processes or procedures for issuing a lease pursuant

   to 25 C.F.R. Part 214 in 2013 and 2014” and whether, where, and in what manner documents or

   information regarding those processes and procedures were made available to the public (if at all).

   This topic seeks testimony relevant to Defendants’ good faith and, therefore, to an analysis of

   trespass damages. As Defendants intend to show at trial, they made significant efforts to obtain

   information from the United States, the OMC, and other available sources concerning the leasing

   requirements of 25 C.F.R. Part 214, and were unable to identify any contemporaneous guidance

   or precedent for the application of those requirements to comparable construction activities. The

   testimony sought by Topic 1 is relevant to the reasonableness and credibility of the evidence

   Defendants’ intend to present concerning those subject matters, among other things. Plaintiffs’

   attempts to dispute the relevance of Topic 1 fail.

          The OMC asserts that, contrary to the allegations in the Amended Complaint, the test for

   good faith is not what Defendants “should have known,” but rather whether Defendants “acted in

   the honest belief that their conduct was lawful.” OMC Resp. at 7-11 (quoting Dilworth v. Fortier,

   405 P.2d 38, 46 (Okla. 1964)). Regardless, testimony from Defendants confirming (as appears to


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   be the case) that processes and procedures for obtaining a lease under 25 C.F.R. Part 214 were not

   made available to the public would be equally relevant to whether Defendants “should have

   known” that a lease was required, or whether they “acted in the honest belief” that the lease was

   not required.

          The OMC next asserts that Defendants already possessed “the policies and procedures

   related to obtaining a permit to mine on the Osage Nation Mineral Reservation.” OMC Resp. at

   12-13. As outside counsel Steve Willman then wrote in the email correspondence appended to the

   OMC’s Response, however, so-called “sandy soil mining permit” documentation appeared on its

   face to apply only to “highway construction.” Dkt. # 278-1 at 2. Nowhere in such documents was

   there any assertion that crushing rock for backfill incident to surface construction activities

   required such a permit or a lease. Moreover, BIA Superintendent Robin Phillips admitted in her

   deposition that 25 C.F.R. Part 214 nowhere provides for “sandy soil permits” and that there was

   not “anything . . . published . . . that referenced sandy soil permits.” See Dep. of Robin Phillips,

   attached hereto as Exhibit B, at 99:4-101:4. If anything, the OMC’s attempt to dispute Defendants’

   contention that they were never provided with notice of processes and procedures purportedly

   indicating that the contemplated construction activities for the Project required a lease under 25

   C.F.R. Part 214 is another reason why the discovery Defendants seek is relevant.

          The OMC then reverses course yet again and argues that the documents it chose to attach

   as exhibits to the Response are in fact “irrelevant” to good faith because they have “no bearing on

   whether Defendants honestly believed their attorneys’ advice that these policies and procedures

   did not apply to them.” OMC Resp. at 13. Defendants cite no cases however, for the proposition

   that Defendants’ reliance on the advice of their counsel that no lease was required somehow

   precludes Defendants from submitting additional evidence of their good faith. Indeed, Dilworth




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   v. Fortier stands for the opposite conclusion. There, the defendant relied on an attorney’s advice

   and the Oklahoma Supreme Court considered other factors such as whether the attorney was on

   sufficient notice regarding recent oil production on the land at issue, the “orderly manner” in which

   the defendants developed the land, and the “divergent views” in the opinions of courts considering

   whether defendants had title to the mineral interest.        Dilworth, 405 P.2d at 47.      Equally

   unconvincing are the United States’ conclusory arguments that Topic 1 is irrelevant because it is

   the “law of the case” that the Court “will not allow any defense forgiving” the requirement for a

   mineral lease. U.S. Resp. at 9. Topic 1 does not seek testimony to “forgive” the leasing

   requirement, but instead evidence relevant to Defendants’ good faith.

          B.      Topics 6 and 7 (Remedies and Damages for violations of 25 C.F.R. Part 214
                  Leases)

          Topics 6 and 7 both seek testimony regarding other instances of “mining” without first

   obtaining a lease required under 25 C.F.R. Part 214, and remedies sought or imposed in such

   instances.2 Both the OMC and the United States contend that Topics 6 and 7 are improper attempts

   to revive affirmative defenses dismissed from the case. U.S. Resp. at 10; OMC Resp. at 16-18.

   Not so. Such testimony is relevant to Defendants’ good faith, the calculation of money damages,

   and “knowing the relative costs and benefits” of proposed equitable relief under Davilla.3 Dkt. #



   2
     Topic 6 seeks testimony concerning “how, if at all, the OMC or the BIA, Office of the Osage
   Agency resolved or addressed such instances, including whether by order, agreement, consent, a
   lawsuit filed or threatened to be filed by or on behalf of the BIA and/or OMC, or otherwise.”
   Topic 7 seeks testimony concerning “instances in which the BIA, Office of the Osage Agency
   and/or OMC sought, endorsed, imposed, or opposed ejectment or removal of any structures or
   materials placed or constructed by any person or entity without first obtaining a lease required
   under 25 C.F.R. Part 214.”
   3
    The OMC continues to argue that discovery on these issues only constitutes “backward-looking”
   evidence. OMC Resp. at 17-18. While these topics involve events of the past, Defendants’
   purpose for requesting them is plainly prospective under Davilla, because it “focus[es] on the
   future effect of the requested relief.” Order on Motion to Reconsider, Dkt. 264, at 19-20.


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   226 at 8 (quoting Davilla, 913 F.3d at 974). For example, if the OMC or United States signed

   leases or reached monetary settlements in such instances, the terms of those leases or settlements

   could be relevant to assessing damages in this case. Likewise, testimony regarding a lack of

   precedent for enforcing 25 C.F.R. Part 214 in other comparable instances of “mining” without a

   lease under 25 C.F.R. Part 214 would bolster the reasonableness and credibility of Defendants’

   intended testimony that they searched for but failed to identify such precedent.

          The testimony is also relevant to show whether the harm is “irreparable” under a Davilla

   analysis. The OMC contends that Topics 6 and 7 bearing on whether the harm is irreparable makes

   it “clear that Defendants want to somehow argue that if the OMC has not taken stringent enough

   actions against others in the past, clearly Defendants’ unlawful conduct cannot cause irreparable

   harm now, in the present.” OMC Resp. at n.3. But Defendants make no such attempt to litigate

   the OMC’s conduct.       Instead, discovery regarding whether in similar instances the parties

   quantified the harms is further evidence that the harms can be quantified in this case and therefore

   injunctive relief is not appropriate. A useful analogue is CRST Expedited, Inc. v. Swift Transp.

   Co. of Ariz. No. 17-CV-25-CJW, 2018 WL 4561745 (N.D. Iowa Sept. 21, 2018). In that case, the

   defendant sought discovery concerning “all lawsuits, proceedings and other legal actions initiated

   by [plaintiff]” regarding the at-issue contract. Id. at *3. The court found the sought-after discovery

   relevant under Rule 26, in part, because the court was “not presently in a position to determine

   whether plaintiff is entitled to a permanent injunction” under the federal injunction test and “[i]f

   defendant is able to prove that such financial recuperation is adequate to compensate for the alleged

   damages, plaintiff will not be entitled to injunctive relief.” Id. (citing Monsanto Co. v. Geertson

   Seed Farms, 561 U.S. 139, 156 (2010)).




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           The OMC also argues that because no such comparisons to other cases are discussed in the

    Pfahl Expert Report, testimony concerning them could not be relevant to damages. OMC Resp. at

    15. But just because expert reports—completed long before discovery was concluded—do not

    discuss such instances does not mean that such discovery cannot be relevant to damages (or

    otherwise)—only that it has not yet been discovered. The testimony Defendants seek easily fits

    within the broad scope of discovery contemplated by Rule 26(b)(1). Reibert v. CSAA Fire & Cas.

    Ins. Co., No. 17-CV-350-CVE-JFJ, 2018 WL 279348, at *6 (N.D. Okla. Jan. 3, 2018) (“Relevance

    is still to be construed broadly to encompass any matter that bears on, or that reasonably could lead

    to other matter that could bear on any party’s claim or defense.” (internal quotation omitted)). In

    order to evade the clear relevance of this testimony, both the OMC and the United States argue

    without support that Topics 6 and 7 are instead attempts to seek out the OMC’s conduct to argue

    affirmative defenses dismissed from the case. U.S. Resp. at 10; OMC Resp. at 16-18. But simply

    because the evidence could be used for an impermissible purpose does not mean that it cannot be

    used for a relevant one. See Osage Tribe of Indians of Oklahoma v. United States, 84 Fed. Cl. 495,

    498-99 (2008) (“Plaintiff cannot object that ‘the request does not seek information reasonably

    calculated to lead to the discovery of admissible evidence’ solely on the basis of plaintiff's

    speculation as to the ‘primary purpose’ for defendant’s discovery requests.”).

           The United States contends that the Motion should be denied because Defendants’

    discovery requests are somehow “stale” and not “timely.” U.S. Resp. at 7. There is nothing

    untimely about this Motion, which Defendants filed 17 days after the meet and confer with the

    United States and 14 days after the meet and confer with the OMC, at which both Plaintiffs made

    clear that they would not produce witnesses for the at-issue topics. Nor is there anything untoward

    about serving Rule 30(b)(6) deposition notices after completing other document discovery and




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    depositions; Plaintiffs did the same thing. Indeed, the OMC served a Motion to Compel further

    interrogatory and document discovery as late as September 29. Dkt. # 285. And that Plaintiffs

    objected to certain document requests or interrogatories served by Defendants is no barrier to

    Defendants serving Rule 30(b)(6) notices on any appropriate subject matters.

           Finally, it is the United States that “misrepresent[s] the posture of this case” when they

    suggest that the Tenth Circuit granted summary judgment to Plaintiffs on trespass, conversion and

    continuing trespass. U.S. Resp. at 11. The Tenth Circuit did no such thing. It reversed this Court’s

    entry of summary judgment in favor of Defendants (based solely on the regulations’ meaning, not

    on any other element of any of the United States’ claims, which have not been considered by any

    court to date) and remanded for further proceedings consistent with its opinion. United States v.

    Osage Wind, LLC, 871 F.3d 1078, 1082 (10th Cir. 2017). No judgment has been entered in favor

    of Plaintiffs on any claim, and multiple critical issues remain in the case including (but not limited

    to) remedies. Defendants are entitled to appropriate discovery to defend themselves against such

    claims and against Plaintiffs’ demands for tens of millions of dollars in damages and an injunction

    ordering removal of the Project. See Dkt. #161 at 15 (directing parties to brief at a later date

    “continuing trespass claim and request for removal of materials and structures”).

                                                CONCLUSION

           For the reasons explained above, Defendants respectfully ask the Court to grant the relief

    requested in the Motion.




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                                       Respectfully submitted,

                                       /s/ Ryan A. Ray
                                       Ryan A. Ray, OBA # 22281
                                       NORMAN WOHLGEMUTH, LLP
                                       3200 Mid-Continent Tower
                                       401 South Boston Avenue
                                       Tulsa, OK 74103
                                       918-583-7571
                                       918-584-7846 (facsimile)

                                       -and-

                                       Lynn H. Slade, pro hac vice
                                       Sarah M. Stevenson, pro hac vice
                                       Dominic A. Martinez, pro hac vice
                                       MODRALL, SPERLING, ROEHL, HARRIS
                                       & SISK, P.A.
                                       Post Office Box 2168
                                       Albuquerque, NM 87103-2168
                                       505-848-1800
                                       505-848-9710 (facsimile)

                                       Thomas J. McCormack, pro hac vice
                                       Robert Kirby, pro hac vice
                                       NORTON ROSE FULBRIGHT US LLP
                                       1301 Avenue of the Americas
                                       New York, NY 10019
                                       212-318-3000
                                       212-318-3400 (facsimile)

                                       Of Counsel:
                                       Robin D. Ball (Los Angeles Office), pro hac vice
                                       Robert D. Comer (Denver Office), pro hac vice
                                       NORTON ROSE FULBRIGHT US LLP

                                       ATTORNEYS FOR DEFENDANTS,
                                       OSAGE WIND, LLC, ENEL KANSAS, LLC
                                       AND ENEL GREEN POWER NORTH
                                       AMERICA, INC.




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on October 4, 2021, I electronically transmitted the attached Document
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    Mary Kathryn Nagle
    Wilson Kirk Pipestem
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    David McCullough
    Jeffrey S. Rasmussen


    The following non-ECF registrants have been served by email:

    Charles R. Babst, Jr.
    Attorney-Advisor
    United States Department of the Interior
    Office of the Solicitor
    Tulsa Field Solicitor Office
    7906 East 33rd Street
    Tulsa, OK 74145
    (918) 669-7730
    Charles.babst@sol.doi.gov
    Attorney for the United States of America


    /s/ Ryan A. Ray
    Ryan A. Ray




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